 Case 2:10-md-02187
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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                    CHARLESTON DIVISION

IN RE: C.R. BARD, INC.,
PELVIC REPAIR SYSTEM
PRODUCTS LIABILITY LITIGATION

                                                                              MDL NO. 2187


THIS DOCUMENT RELATES TO THE CASES IN THE EXHIBIT A ATTACHED HERETO


                                  INACTIVE DOCKET ORDER


       The Court has been advised by counsel that in the cases listed on the attached Exhibit A,

the Plaintiffs and C.R. Bard, Inc. (“Bard”) have agreed to a settlement model with regard to

Bard. The Court, therefore, finds it unnecessary to conduct further proceedings or to keep these

cases on the active docket. Accordingly, the Court ORDERS as follows:

       1.        All discovery deadlines are continued until further order of the Court.

       2.        That the Clerk retire each of the cases listed on the attached Exhibit A from the

active docket.

       3.        Plaintiffs and Bard may submit an agreed order of dismissal with prejudice on or

before June 30, 2017; if settlements are not finalized and dismissal orders are not submitted by

June 30, 2017, then the Court will have a hearing to determine the appropriate action pertaining

to any remaining cases on the inactive docket..

       Counsel for plaintiffs and defendant(s) are directed to provide quarterly reports as to their

progress in dismissing cases on the inactive docket. The Court is aware that counsel have agreed
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to a settlement model for a group of cases and claims, including those on Exhibit A. The Court

will reinstate any case on the attached Exhibit A to the active docket if one of the parties, on

motion, shows good cause for such reinstatement. Good cause includes, but is not limited to, a

plaintiff’s refusal or inability to consummate settlement. Such motion must be accompanied by

an affidavit from plaintiff explaining such refusal or inability.

       The Court DIRECTS the Clerk to file a copy of this order in MDL No. 2187 and in the

individual cases listed on the attached Exhibit A. The Clerk is further DIRECTED to link this

Order to the Proposed Inactive Docket Order filed at ECF No. 2744, and send a copy of this

Order to counsel of record and any represented party.




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                    EXHIBIT A – McSweeney Langevin, LLC

 CIVIL ACTION NUMBER                               CASE NAME
   (listed numerically in
      ascending order)
2:14-cv-27694               Christina Adams, et al. v. C.R. Bard, Inc.
2:14-cv-27827               Laura Hiles v. C.R. Bard, Inc.
2:14-cv-27904               Denniece Slaugh v. C.R. Bard, Inc.
2:14-cv-28551               Kerrie Libra, et al. v. C.R. Bard, Inc.
2:14-cv-28555               Debra Neloms v. C.R. Bard, Inc.
2:14-cv-28566               Mary Lawler, et al. v. C.R. Bard, Inc.
2:14-cv-28570               Lucinda Peleska, et al. v. C.R. Bard, Inc.
2:14-cv-29054               Tina Shaner v. C.R. Bard, Inc.
2:14-cv-29055               Cheryl Worden v. C.R. Bard, Inc.
2:14-cv-29476               Louise Swinehart v. C.R. Bard, Inc.
2:14-cv-29478               Virginia Spinks v. C.R. Bard, Inc.
2:14-cv-29555               Barbara Palmer, et al. v. C.R. Bard, Inc.
2:14-cv-29638               Randa Strelchuk, et al. v. C.R. Bard, Inc.
2:14-cv-30777               Stacy Kelley v. C.R. Bard, Inc.
2:14-cv-30779               Trina Eves v. C.R. Bard, Inc.
2:15-cv-00025               Karen Lummus v. C.R. Bard, Inc.
2:15-cv-00376               Shauna Meuchel, et al. v. C.R. Bard, Inc.
2:16-cv-04384               Melonie Jumper v. C.R. Bard, Inc.
2:16-cv-04495               Tonya Miller v. C.R. Bard, Inc.
2:16-cv-04496               Carrie Wang, et al. v. C.R. Bard, Inc.
2:16-cv-04797               Sara Niebur, et al. v. C.R. Bard, Inc.




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